          Case 4:18-cv-00143-DCN Document 50 Filed 04/08/19 Page 1 of 2




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Attorneys for Defendant Obstetrics & Gynecology Associates of Idaho Falls, P.A.

                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO


 KELLI ROWLETTE, an individual, SALLY                     Case No. 4:18-CV-00143-DCN
 ASHBY, an individual, and HOWARD
 FOWLER, an individual,

 Plaintiffs,
                                                      DEFENDANT OBSTETRICS AND
 v.                                                GYNECOLOGY ASSOCIATES OF IDAHO
                                                   FALLS, P.A.’S MOTION FOR SUMMARY
 GERALD E. MORITMER, M.D., LINDA G.                              JUDGMENT
 McKINNON MORTIMER, and the marital
 community      comprised      thereof, and
 OBSTETRICS         AND       GYNECOLOGY
 ASSOCIATES OF IDAHO FALLS, P.A., an
 Idaho professional corporation,

 Defendants.


        COMES NOW, Defendant Obstetrics and Gynecology Associates of Idaho Falls, P.A., and

pursuant to F.R.C.P. 56 submits its Motion for Summary Judgment. This motion is made on the

grounds that OGA cannot be held liable for the conduct of Dr. Mortimer under respondeat superior

and Plaintiffs cannot prove their claim for negligent supervision.


1 – DEFENDANT OBSTETRICS AND GYNECOLOGY ASSOCIATES OF IDAHO FALLS,
    P.A.’S MOTION FOR SUMMARY JUDGMENT
          Case 4:18-cv-00143-DCN Document 50 Filed 04/08/19 Page 2 of 2



        This Motion is supported by the Memorandum in Support of Defendant Obstetrics and

Gynecology Associates of Idaho Falls, P.A.’s Motion for Summary Judgment, the Statement of

Undisputed Material Facts in Support of Defendant Obstetrics and Gynecology Associates of

Idaho Falls, P.A.’s Motion for Summary Judgment, the Declaration of Richard R. Friess, the

Affidavit of C. Jay Kindred, M.D. and the Affidavit of R. Douglas Isbell, M.D., all filed

contemporaneously herewith.

        ORAL ARGUMENT IS REQUESTED

        DATED this 8th day of April, 2019.

                                                      By:     ____________________________
                                                              Richard R. Friess



                                    CERTIFICATE OF SERVICE


        I hereby certify that on April 8th, 2019, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system:

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                                                      By:     ____________________________
                                                              Richard R. Friess




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2 – DEFENDANT OBSTETRICS AND GYNECOLOGY ASSOCIATES OF IDAHO FALLS,
    P.A.’S MOTION FOR SUMMARY JUDGMENT
